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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

SELINA MARIE RAMIREZ,                     §
individually and as Independent           §
Administrator of, and on behalf of, the   §
ESTATE OF GABRIEL EDUARDO                 §
OLIVAS and the heirs-at-law of            §
GABRIEL EDUARDO OLIVAS, and as            §
parent, guardian and next friend of and   §
for female minor S.M.O.; and              §   CIVIL ACTION NO. 3:19-cv-01529-X
GABRIEL ANTHONY OLIVAS,                   §
individually,                             §
        Plaintiffs,                       §
                                          §
v.                                        §
                                          §
CITY OF ARLINGTON, TEXAS;                 §
JEREMIAS GUADARRAMA; and                  §
EBONY N. JEFFERSON,                       §
      Defendants.                         §



                REPLY TO PLAINTIFFS’ RESPONSE TO
        DEFENDANT CITY OF ARLINGTON’S MOTION TO DISMISS
                  UNDER RULE 12(b)(6) AND BRIEF
                      FILED IN RESPONSE TO
         FIRST AMENDED PLAINTIFFS’ ORIGINAL COMPLAINT



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                             ATTORNEYS FOR DEFENDANT
                              CITY OF ARLINGTON, TEXAS
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TO THE HONORABLE JUDGE STARR,
UNITED STATES DISTRICT JUDGE:

       Defendant City of Arlington, Texas (“Arlington”) files its Reply to Plaintiffs’

Response to Arlington’s Motion to Dismiss Under Rule 12(b)(6).

       I.      Summary of Reply.

       1.01    Plaintiffs’ effort to save their case fails in two critical aspects. First,

Plaintiffs cherry pick their own factual allegations, simply disregarding inconvenient

facts. Second, Plaintiffs cite a series of cases – mostly from other circuits – that involve

court holdings that suicidal individuals presented no risk of harm to others. Those cases

are not relevant because Mr. Olivas presented a serious risk of harm to two of his family

members as well as three Arlington police officers.        In addition, Plaintiffs mistake

Arlington’s compliance with the standards for a motion to dismiss as concessions to

Plaintiffs’ factual allegations. This is not the case. Last, Plaintiffs misstate Arlington’s

motion to dismiss in regards to Arlington’s contentions regarding Taser use.


       II.     Plaintiffs’ own version of facts show Mr. Olivas posed a threat of
               serious physical harm to two family members and three police
               officers.

       2.01    Plaintiffs’ entire argument turns on the singular fact of whether Mr. Olivas

was “threatening no one but himself.” 1       But Plaintiffs’ own allegations belie this

contention.   Plaintiffs’ own factual allegations demonstrate that (1) Mr. Olivas had

doused part of the house and himself in gasoline, 2 (2) Mr. Olivas held a lighter in his




1
  See Plaintiffs’ Response to Defendants’ Motions to Dismiss, p.17 (Doc. 29, PageID
408).
2
  See First Amended Plaintiffs’ Original Complaint, p.7, ¶¶ 12-13 (PageID 211), p.8, ¶ 15
(PageID 212), p.14, ¶ 30 (PageID 218).
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hand, 3 and (3) Mr. Olivas was actively threatening to ignite the gasoline while the

officers and his own family members were present in the room with Mr. Olivas. 4

Plaintiffs’ complaint says the call text “allegedly” indicated that Mr. Olivas was

“threatening to burn down the house”. 5 However, Mr. Olivas repeated this threat directly

in front of the Arlington Officers (“yelling that he was going to burn the place to the

ground”). 6   Plaintiffs’ complaint further indicates that Mr. Olivas was “high on

methamphetamines” (which is not challenged elsewhere in Plaintiffs’ Complaint). 7

       2.02    Plaintiffs attempt to avoid the factual situation created by Mr. Olivas by

arguing that Mr. Olivas never formally “threaten[ed] to harm his wife, his son, or anyone

else in the home”. 8   But the officers were forced to address Mr. Olivas’s ongoing

conduct, which included threatening to burn down the house while his family members

were in the house. 9 The fact that Mr. Olivas never verbally threatened his family must be

measured against his objective conduct involving his family.

       2.03    Plaintiffs further attempt to avoid the facts – as they have pleaded them –

with statements such as: “However, Mr. Olivas would never have committed suicide.” 10

This statement is gross speculation and conclusory. Further, Mr. Olivas’s own conduct

and his family’s interpretation of that conduct belie the speculative contention that Mr.




3
  See id. at p.8, ¶ 15 (PageID 212).
4
  See id. at pp.20-21, ¶ 49 (PageID 224-225).
5
  See id. at p.8, ¶ 15.
6
  See id. at pp.20-21, ¶ 49 (PageID 224-225).
7
  See id. at p.10, ¶ 19 (PageID 214).
8
  See id.
9
  See id.
10
   See id.
Arlington’s Reply to Plaintiffs’ Response to Defendants’ Motions to Dismiss             2
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Olivas would “never” have committed suicide. 11 Plaintiffs describe some of the conduct

that evening as follows:

       Officer Elliot saw Mr. Olivas on the far south wall of the room, learning
       against the wall. Mr. Olivas was holding a red plastic gas can against his
       body, and it appeared to be a 2-gallon or 2.5 gallon can. Officer Elliot
       said that he observed two or three family members attempting to pull the
       gas can away from Mr. Olivas. However, there were only two family
       members in the room. Mr. Olivas and the family members were yelling
       and screaming, but Officer Elliot could not make out any words. 12

Plaintiffs make these factual allegations based on the written statement of Officer Elliot,

with the only correction being that there were only two – rather than three – family

members in the room.13       Plaintiffs’ allegations also repeatedly emphasize that the

Arlington officers “were aware that Mr. Olivas was threatening to commit suicide.”14

Regardless of whatever Mr. Olivas’s subjective intentions were, the Arlington Officers

objective observations were of a man intent on committing suicide with the means to do

so immediately at hand (“lighter he was holding”). 15

       III.    Plaintiffs’ cited cases – involving suicidal individuals who were found
               not to pose a risk of harm to others – are not relevant to this case.

       3.01    Plaintiffs cite to a series of cases – mostly from other circuits – that are

cited for the proposition that deadly force should not be applied to a suicidal individual

who poses no risk of harm to others. 16 Plaintiffs’ header for this section of their brief

summarizes the proposition, saying: “Clearly established law prohibits the use of deadly




11
   See id. at pp.8-22 (PageID 212-226).
12
   See id. at p.19, ¶ 44 (PageID 223).
13
   See id.
14
   See id. at p.7, ¶ 13.
15
   See id. at p.8, ¶ 15 (PageID 212).
16
   See Plaintiffs’ Response to Defendants’ Motions to Dismiss, pp.19-24 (Doc. 29, PageID
410-415).
Arlington’s Reply to Plaintiffs’ Response to Defendants’ Motions to Dismiss              3
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force on a suicidal subject who poses no threat to anyone but himself.” 17 But this

proposition is not relevant to the facts at hand because Mr. Olivas’s conduct – based on

Plaintiffs’ allegations – posed a serious threat of physical harm to others. 18 The cited

cases have no bearing on the analysis of the case at hand.

        3.02   None of the cases cited by Plaintiffs involve any scenario remotely similar

to that faced by Arlington’s police officers. 19 Mr. Olivas had doused himself and part of

his family’s house in gasoline, 20 was high on methamphetamine, 21 was threatening to

light himself on fire with the lighter that he held in one hand while holding a two or two-

and-a-half gallon gasoline container in the other. 22        At the same time, two family

members and three police officers were in a bedroom doused with gasoline with Mr.

Olivas, who was drenched in gasoline. 23 Plaintiffs allegations further state:

        At some point, Mr. Olivas began screaming “non-sense” and yelling that
        he was going to burn the place to the ground. 24

Clearly – even on the Plaintiffs’ best version of events – others were at risk of serious

physical harm in this scenario. The cited cases simply do not address the facts at issue in

this case.




17
   See id. at p.19 (PageID 410).
18
   See prior section.
19
   See Plaintiffs’ Response to Defendants’ Motions to Dismiss, pp.19-24 (Doc. 29, PageID
410-415).
20
   See First Amended Plaintiffs’ Original Complaint, p.7, ¶¶ 12-13 (PageID 211), p.14, ¶
30 (PageID 218).
21
   See id. at p. 10, ¶ 19 (PageID 214).
22
   See id. at p.8, ¶ 15 (PageID 212), p.19, ¶ 44 (PageID 223).
23
   See id.; see also p.14, ¶ 30 (PageID 218),
24
   See id. at pp.20-21, ¶ 49 (PageID 224-225).
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       IV.     Arlington’s obedience to the standard for a motion to dismiss is not a
               concession by Arlington that Plaintiffs’ factual allegations are true.

       4.01    For the purposes of its motion to dismiss, Arlington is required to treat the

Plaintiffs’ factual allegations as true. See Sonnier v. State Farm Mut. Auto. Ins. Co., 509

F.3d 673, 675 (5th Cir. 2007) (per curiam). By doing so, Arlington is not conceding that

Plaintiffs’ alleged version of events is true. Arlington repeatedly reiterated that it was

relying on “the Plaintiffs’ own version of facts”. 25

       4.02    In this regard, Plaintiffs first say that they “did not recognize their

Complaint from Defendants’ characterizations in their original motions to dismiss.”26

But later Plaintiffs contend: “The City accepts that the officers used deadly force against

a suicidal subject by firing Tasers at him while he was doused in gasoline.” 27 The

Plaintiffs do not cite to any portion of Arlington’s motion to support their statement. 28 In

any event, Arlington emphasized – based on the Plaintiffs’ own allegations – that the

Officers were trying to avoid using their firearms in the encounter with Mr. Olivas and

that the Officers were seeking “less lethal” options. 29 Thus, Plaintiffs’ characterization is

inaccurate.

       4.03    Plaintiffs further contend: “The City does not contend that the officers’

use of Tasers in this circumstance was a mistake or that they did so in violation of City




25
   See, e.g., Arlington’s Motion to Dismiss, p.5 (Section A: “Plaintiffs’ own version of
facts demonstrate that no Fourth Amendment violation occurred given the scenario the
officers faced.” (Doc. 23, PageID 313).
26
   See Plaintiffs’ Response to Defendants’ Motions to Dismiss, p.4 (Doc. 29, PageID 395).
27
   See Plaintiffs’ Response to Defendants’ Motions to Dismiss, p.17 (Doc. 29, PageID
408) (2nd sentence from page top).
28
   See id.
29
   See, e.g., Arlington’s Motion to Dismiss in Response to Plaintiffs’ First Amended
Complaint, p.16, ¶ 5.21 (Doc. 23, PageID 324).
Arlington’s Reply to Plaintiffs’ Response to Defendants’ Motions to Dismiss                 5
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policy or the officers’ training.” 30 Again, Arlington must rely on the Plaintiffs’ version

of events at the motion to dismiss stage. See Sonnier, 509 F.3d at 675. Plaintiffs

repeatedly mistake compliance with the applicable standard as concessions by Arlington.

        4.04    Arlington’s reliance on Plaintiffs’ version of events is not a concession

that Plaintiffs’ version is true. In short, Arlington contends that Plaintiffs have failed to

state a claim upon which relief can be granted – even accepting Plaintiffs’ allegations as

true. See Sonnier, 509 F.3d at 675.

        V.      Arlington’s response to Plaintiffs’ training contentions.

        5.01    As Arlington indicated in its motion to dismiss, it is not clear to Arlington

whether Plaintiffs are asserting a failure to train claim against Arlington. 31 While it is

clear that Plaintiffs complain about Arlington’s “escalation of force policy”, it remains

somewhat uncertain as to whether Plaintiffs are complaining about Arlington’s training.32

In this regard, Plaintiffs say:

                The City’s training was deficient and a moving force behind the
        unconstitutional use of excessive force. While it is true that the City
        training minimally apprised officers that use of a Taser in the presence of
        flammable substances could cause a fire, it did not train them not to use a
        Taser in such circumstances. In fact, as the City emphasizes in its motion,
        it trained its officers just the opposite, to use Tasers in the presence of
        flammable substances to inflict deadly force, as if they are some sort of
        mini-flame thrower. The purpose of the warning regarding flammables is
        to prevent the use of Tasers in such circumstances, not to encourage their
        use. By failing to adopt a policy of prohibiting the use of Tasers when
        flammable substances are present, and allowing officers discretion to use




30
   See Plaintiffs’ Response to Defendants’ Motions to Dismiss, p.16-17 (Doc. 29, PageID
407-408).
31
   See Arlington’s Motion to Dismiss Filed in Response to Plaintiffs’ First Amended
Complaint, p.21, ¶ 5.32 (Doc. 23, Page ID 329).
32
   See Plaintiffs’ Response to Defendants’ Motion to Dismiss, pp.24-26 (Doc. 29, Page
ID415-417).
Arlington’s Reply to Plaintiffs’ Response to Defendants’ Motions to Dismiss                6
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        Tasers to inflict deadly force, the City of Arlington dangerously trained its
        officer to inflict excessive force with Tasers. 33

First, it goes without saying that Plaintiffs have taken extreme license in their

interpretation of Arlington’s motion to dismiss.            Obviously Arlington did not

“emphasize” in its motion that its Officers were trained to use a Taser as a “mini-flame

thrower.” 34 Of course, Arlington never made such an argument, 35 and Plaintiffs fail to

cite any part of Arlington’s motion to dismiss to support this rhetoric. 36

        5.02   Rather Arlington cited the Supreme Court and the Fifth Circuit which

have both made it clear that the standard is a “reasonableness” inquiry made “in light of

the facts and circumstances confronting them”. Rockwell v. Brown, 664 F.3d 985, 991

(5th Cir. 2011) (citing Graham v. Connor, 490 U.S. 386, 397 (1989)). While Plaintiffs

fault Arlington for not having absolutely prohibited the use of Tasers “when flammable

substances are present”, neither the Supreme Court or the Fifth Circuit require such

absolute rules without consideration of the “facts and circumstances” confronting the

officers.   See id.    Plaintiffs’ 20/20 hindsight analysis ignores their own pleaded

allegations that the Arlington Officers were trying to avoid using their firearms in

addressing the situation created by Mr. Olivas. 37       Plaintiffs’ proposed absolute rule

would eliminate Tasers as a tactical option, regardless of the totality of the risks present.

Plaintiffs’ proposal would also eliminate the use of Tasers in situations – like this case –

in which the officers were trying to avoid using firearms. If Plaintiffs are asserting a



33
   See id. at p.26 (PageID 417).
34
   See Arlington’s Motion to Dismiss Filed in Response to Plaintiffs’ First Amended
Complaint, pp.21-25, ¶¶ 5.32-5.39 (Doc. 23, Page ID 329-333).
35
   See id.
36
   See Plaintiffs’ Response to Defendants’ Motion to Dismiss, p.26 (Doc. 29, Page ID
417).
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 failure to train claim, they have failed to do so. Rather, Plaintiffs own allegations show

 that Arlington’s Officers were trained regarding the use of Tasers and the associated

 risks. 38

             VI.    Relief.

             6.01   Based on the foregoing, Defendant City of Arlington, Texas prays that the

 Court dismiss Plaintiffs’ claims against Arlington with prejudice, enter a final judgment,

 and grant any further relief to which Arlington is entitled. Notably, Plaintiffs have

 already availed themselves of the opportunity to replead their claims in response to the

 Defendants’ original round of motions. Plaintiffs’ one sentence request for “alternative

 relief” to amend makes no attempt to show how further amendments would cure the

 defects in the complaint. 39 Plaintiffs’ own version of facts affirmatively negate their

 claims.       See Shemwell v. Cannon, 352 F.Supp.3d 690, 702-03 (N.D. Tex. 2019)

 (plaintiff’s pleaded version of facts showed that amendment would be futile).

 Accordingly, Plaintiffs should not be allowed a third attempt to cure.

                                                 Respectfully submitted,

                                                 /s/ Robert Fugate                  .

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                                    CITY OF ARLINGTON, TEXAS


 37
    See First Amended Plaintiffs’ Original Complaint, p.11, ¶ 21 (PageID 215).
 38
    See First Amended Plaintiffs’ Original Complaint, p.31-38 (PageID 235-242).
 39
    See Plaintiffs’ Response to Defendants Motion to Defense, p.28 (PageID 419).
 Arlington’s Reply to Plaintiffs’ Response to Defendants’ Motions to Dismiss               8
